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ROBERT R. CROSS (State Bar No, 56814) : ent"
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SIDEMAN & BANCROFT LLP
One Embarcadero Center, Eighth Floor By DISTRICT OF CALFORRTA
San Francisco, California 94711-3629
Telephone: (415) 392-1960
Facsimile: (415) 392-0827
Attorneys for June Newton
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
mep
JUNE NEWTON, CASE nGV 1 1 ™ 2 3 5 0 [V8Kx
Plaintiff, COMPLAINT FOR COPYRIGHT
INFRINGEMENT, CONVERSION
v. AND VIOLATION OF CAL. CIVIL
CODE § 1740 ET SEQ. |

NORMAN SOLOMON fn individual, | fpEMAND FOR JURY TRIAL]
PHOTOGRAPHIC ART CENTER,
CELEBRITY INC., a Delaware
corporation dba in California as
CELEBRITY VAULT, INC., |

Defendants.

 

 

follows:

 

 

. Plaintiff June Newton (“Plaintiff’ or “Mrs. Newton”) hereby alleges as

JURISDICTION AND VENUE

1. Jurisdiction, This action is brought, and jurisdiction lies within this
court, pursuant to 28 U.S.C. §§ 1331, 1332, 1338 and 1367. This Court has federal .
question jurisdiction pursuant to 28 U.S.C. § 1331 in this matter in that Plaintiff -
seeks damages against Defendants named herein under Sections 501 through 505 of ©
the Copyright Act of the United States, 17 U.S.C. §§ 101 et seq. This Court has

diversity jurisdiction pursuant to 28 U.S.C. § 1332 as the controversy exists between

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Plaintiff, domiciled in the Principality of Monaco, and Defendants, who are citizens
of California. Furthermore this Court has jurisdiction over the subject matter of this
action pursuant to 28 U.S.C. §§ 1338(a) and 1338(b). Finally, this Court has
supplemental jurisdiction under the principles of pendent jurisdiction as codified in
28 ULS.C. § 1367.

2. As the actions that gave rise to this controversy took place primarily in
the County of Los Angeles, this action shall be assigned to the Western Division.

3. Venue lies within this district pursuant to 28 U.S.C. § 1391(b)(1) as
Defendant Norman Solomon (“Solomon”) resides or has resided in this district;
pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the events and
omissions giving rise to Plaintiff's claims alleged herein occurred in this district;
and pursuant to 28 U.S.C. § 1391(c), Defendants Art & Artifact The Photographic
Art Center (“Art & Artifact”) and Celebrity, Inc. (“Celebrity Vault”) are subject to
personal jurisdiction in this district as each of their business addresses are within
this judicial district at the time the action was commenced.

THE PARTIES

4. Plaintiff is and at all times material herein has been an individual
domiciled in the Principality of in Monaco.

5. On information and belief, Solomon is an individual who resides or has
resided in Los Angeles, California.

6. On information and belief, Defendant Art & Artifact is doing business
in Los Angeles, California but is not currently registered as a business entity with
the State of California. Plaintiff further alleges that Art & Artifact is affiliated with
Defendant Solomon. See www.art-artifact.com.

7. On information and belief, at all times material herein Defendant Art &
Artifact was the agent of Defendant Solomon, and in doing the things herein
alleged, was acting within the course and scope of such agency.

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8. On information and belief, Defendant CelebrityVault is a Delaware
corporation doing business in California as Celebrity Vault, Inc. On information
and belief, Celebrity Vault has a gallery in Beverly Hills, California. See
www.thecelebrityvault.com. On information and belief, Celebrity Vault has
surrendered its qualification to do business in California.

ALLEGATIONS COMMON TO EACH CAUSE OF ACTION

9. Plaintiff is the widow and sole heiress of the fine arts photographer
Helmut Newton (“Artist”), now deceased (1920-2004). Mrs. Newton is the
exclusive owner of all worldwide copyrights in photographs of Artist.

10. In 1983, Artist created a limited collection of certain of his
photographs, known as the “Private Property Collection.” Each portfolio in the
Private Property Collection consisted of three “suites” of 15 photographs each, for a
total of 45 photographs per portfolio. Each photograph was printed as a gelatin
silver print, signed, consecutively numbered in pencil and copyright stamped. Artist
intended that the full edition of the Private Property Collection would be limited to
75 portfolios, all of which were printed (the “Photographs”).

11. Starting about December 1984, Artist engaged Spectrum Enterprises,
Limited (“Spectrum Enterprises”) in Los Angeles, California to assist him in
promoting the Photographs. Plaintiff is informed and believes, and alleges thereon,
that on or about December 14, 1984, Artist and Spectrum Enterprises, represented
by Solomon, entered into a written agreement, designated the “Portfolio
Agreement,” memorializing the promoter relationship. Spectrum Enterprises
acknowledged in the Portfolio Agreement that all copyrights in Artist’s work
belonged solely to Artist, that it had a limited license to market and distribute the
work in portfolio form, and that it did not receive any express or implied license to
use Artist’s materials without his authorization.

12. Inthe course of this engagement, Artist provided Spectrum Enterprises

and Solomon with certain photographic works comprising the Photographs.

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13. Solomon represented as late as August 2010 that he was provided with
three complete portfolios of the Photographs but that each of the portfolios was
provided to fine arts galleries in London, Paris and Los Angeles with Artist’s
permission and authorization.

14. After the sale of approximately 25 portfolios, Artist decided that no
further portfolios should be sold and that the remaining Photographs produced for
the Private Property Collection were not to be sold or released into the marketplace.

15. The Portfolio Agreement terminated pursuant to its own terms no later
than August 1, 1986, and all rights thereunder reverted to Artist. Thereafter,
Solomon and Spectrum Enterprises had no further right to possess, distribute or sell
Artist’s works, including the Photographs, or the promotional materials that
accompanied them.

16. On information and belief, Plaintiff alleges that after the expiration of
the Portfolio Agreement, Solomon wrongfully retained certain unsold Photographs
and/or other promotional materials that Solomon and/or Spectrum Enterprises were
entitled to use solely for promotional purposes during the term of the Portfolio
Agreement.

17. Each of the Photographs was first published in a country that was then
a party to the Universal Copyright Convention (a “UCC Party”), or while Artist was
domiciled in a country that was then a UCC Party and while the United States of
America was also a UCC Party. Accordingly, the Photographs are subject to
copyright protection under the Copyright Act of 1976. 17 U.S.C. § 104(b)(1), (2).

18. Because of the limited production and sales of the Private Property
Collection, the Photographs are extremely valuable. At the time of the Portfolio
Agreement, portfolios sold for at least $7,500. A complete portfolio presently has
an estimated value in excess of $250,000 — $350,000.

19. On information and belief, in or about February 2011 and thereafter,

Defendants Art & Artifact and Celebrity Vault offered for sale on an internet

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auction site, eBay, certain photographic prints from the Private Property Collection,

one example of which is set forth below:

“Helmut Newton B&W print of “Shoe” Monte Carlo 1983
This amazing print is exculsively (sic) from his private
collection. Helmut Newton was mostly known for his
spectacular fashion photography.

We are excited to announce our complete new line of
some of Helmut Newton’s amazing provocative and
erotically charged B& W photography. These prints are
from his private collection, These are all 11” X 17” prints.
We are able to offer these limited prints to you at slightly
under retail value. Every print comes with a COA and is
shipped in a stiff mailer” (See attached hereto as a true

and correct copy of the eBay posting on February 23,
2011, Exhibit A.)

20. On information and belief, in or about February 2011 and thereafter,
Defendants Art & Artifact and Celebrity Vault offered for sale on eBay certain
“original lithographs” featuring images from the Private Property Collection, one

example of which as set forth below:
“CELEBRITY vault

Proudly presents

HELMUT NEWTON PRIVATE PROPERTY
| Original Fine Art Lithographs

In 1984, Norman Soloman produced Helmut Newton's
limited edition portfolio titled Private Property, which
was introduced at gallery exhibitions in Paris and London.
At the same time, Mr. Soloman also published a limited
edition series of Fine Art Lithographs featuring many of
Mr. Newton’s most iconic images from the Private |
Property collection. Twenty-five years later, Celebrity
Vault is excited to announce that we are exclusively re-
introducing the same lithographic series representing
twenty of the most valuable Images from the Private
Property collection.

The original 16”x 20” signed limited edition sliver gelatin
prints from the Private Property collection have i,
skyrocketed in value, especially since Newton’s passing in
2004, making the images in this limited edition series o
fine art reproductions from the original negatives a
particularly notable piece of photographic history.

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The large 25”x 38” Private Property original lithographs,
each featuring an iconic image that catapulted Newton into
being one of the most well-known and coveted |
photographers in the world, will soon be exclusively
available for purchase at Celebrity Vault and Art &
Artifact!” (See attached hereto as a true and correct copy
of the eBay posting on March 16, 2011, Exhibit B.)

21. On information and belief, on or before March 2011, Defendant Art &
Artifact generally offered for sale on its gallery website certain “lithographic
reproductions” of images from the Private Property Collection. See attached hereto
as a true and correct copy of Defendant Art & Artifact webpages depicting images
of the unauthorized copies of the Photographs in March 2011, Exhibit C.

22. On information and belief, on or before March 2011, Defendant
Celebrity Vault generally offered for sale on its gallery website and sold certain
“fine art lithograph[s]” of images from the Private Property Collection. See
attached hereto as a true and correct copy of Defendant Celebrity Vault webpages
depicting images of the unauthorized copies of the Photographs in March 2011,
Exhibit D.

23. Asadirect result of Defendant Solomon's actions in failing to return
and secretly retaining Photographs and/or promotional materials derived from the
Photographs, Plaintiff has been damaged in an amount to be determined at trial by
Defendants’ offer for sale and sale of certain unauthorized photographic works
belonging to Plaintiff.

24. In February and March 2011, Plaintiff's counsel notified Defendants
that Defendants’ offer for sale and sale of Photographs and/or promotional materials
were infringing on Plaintiff's protected copyrights, and demanded that Defendants
cease and desist from further infringing activity. To date, Defendants have not
ceased offering for sale the infringing materials. Thus, the conduct of Defendants
and each of them is willful and justifies the imposition of enhanced damages.

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FIRST CLAIM FOR RELIEF
(Against All Defendants for Copyright Infringement — 17 U.S.C. §106 et seq.)

25. Plaintiff incorporates by this reference each and every allegation
contained in paragraphs 1 through 24 above, as though fully set forth.

26. Plaintiff is the owner of all worldwide copyrights in Artist’s work,
including the Photographs. Plaintiff has the exclusive right to distribute copies of
the Photographs to the public by sale or other transfer of ownership pursuant to
section 106(3) of the Copyright Act.

27. Within the last two years, Defendants infringed upon Plaintiffs
copyrights by offering for sale copies of the Photographs without authorization.
Upon information and belief, Defendants have disseminated and sold unauthorized
copies of the Photographs on multiple occasions.

28. In undertaking the conduct complained of in this action, Defendants
knowingly, intentionally, and willfully violated Plaintiff's copyrights.

29. Except for the limited purpose described above with regard to the
Portfolio Agreement, Artist did not authorize, and Plaintiff has not authorized,
Defendants to use, reproduce, sell, offer for sale or distribute all or any part or
portion of the Photographs for any purpose whatsoever.

30. By reason of Defendants’ infringement, Plaintiff has sustained and will
continue to sustain substantial injury, loss and damage to her ownership rights in the
Photographs.

31. Further irreparable harm to Plaintiff is imminent as a result of
Defendants’ conduct, and Plaintiff is without an adequate remedy at law. Plaintiff is
entitled to an injunction restraining Defendants, their officers, directors, agents,
employees, representatives and all persons acting in concert with them from
engaging in further such acts of copyright infringement.

32. Based upon Defendants’ willful infringement, Plaintiff is entitled to

recover from Defendants the damages sustained by Plaintiff as a result of

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Defendants’ acts of copyright infringement. Plaintiff is at present unable to
ascertain the full extent of the monetary damage she have suffered by reason of
Defendants’ acts of copyright infringement, but is informed and believes, and on the
basis of such information and belief alleges, that Plaintiff has sustained such damage
in an amount exceeding $300,000.

33.  Plaintiffis further entitled to recover from Defendants the gains, profits
and advantages they have obtained as a result of their acts of copyright
infringement. Plaintiff is at present unable to ascertain the full extent of the gains,
profits and advantages Defendants have obtained by reason of their acts of copyright
infringement.

34.  Plaintiffis also entitled to reasonable attorneys’ fees and costs she has
and/or will incur with respect to the infringement of the Photographs subject to the

protected copyrights.

SECOND CLAIM FOR RELIEF
(Against Defendant Solomon for Conversion)

35. Plaintiff incorporates by this reference each and every allegation
contained in paragraphs | through 34 above, as though fully set forth.

36. Plaintiff alleges on information and belief that Defendant Solomon
retained Photographs and other materials belonging to Artist that were intended for
promotional use only and subsequently attempted to sell or distribute Artist’s
property, including the Photographs.

37. Except for the limited purpose described above and in the Portfolio
Agreement, Artist did not authorize, and Plaintiff has not authorized, Defendant
Solomon to use any part or portion of Photographs or other materials belonging to
Artist for any purpose whatsoever.

38. The aforementioned acts of Defendant Solomon were willful,
oppressive, fraudulent and/or malicious.

39. Asaresult of Defendant Solomon’s willful and intentional conversion

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of Artist’s property, now belonging to Mrs. Newton, Plaintiff has incurred damages

in an amount to be determined at trial.

. THIRD CLAIM FOR RELIEF
(Against all Defendants for Violation of California Full Disclosure In the Sale
of Fine Prints — Cal. Civil Code §1740 et seq.)

40. Plaintiff incorporates by this reference each and every allegation
contained in paragraphs | through 39 above, as though fully set forth.

41.  California’s Sale of Fine Prints, Cal. Civil Code § 1740 et seq. (“Sale
of Fine Prints Law’), makes it unlawful for anyone, including Defendants, to trade
in fine arts prints without the disclosures required by sections 1742 and 1744
therein, and without a certificate of authenticity (“COA”). (Cal. Civ. Code §§ 1740-
1745.9).

42. On information and belief, Plaintiff alleges that the advertisements
and/or COAs accompanying Defendants’ offer for sale of Artist’s work created by
Artist and belonging to Plaintiff, contains false and/or misleading information
including, but limited to, statements that the fine arts prints offered are “exculsively
(sic) from [Artist’s] private collection” and are “Original Fine Art Lithographs.”

43. On information and belief, Defendant Solomon wrongfully retained
Artist’s work and/or promotional materials beyond the term of the Portfolio
Agreement and that Defendant Solomon is the source of the unauthorized
Photographs now being sold by Defendants. While Artist was living, Artist did not
know or have reason to know of or suspect Defendant Solomon’s wrongful conduct,
and until the publication of Defendants’ offer for sale of Photographs, Plaintiff did
not know or have reason to know of or suspect Solomon’s wrongful conduct.

44. Aga result of Defendants’ wrongful actions, Plaintiff is entitled to
injunctive relief under the Sale of Fine Prints Law. (Cal. Civ. Code §1745.5(b)).

45. Furthermore, as a result of Defendant Solomon’s willful and intentional
actions, including those justifying the imposition of exemplary damages, Plaintiff
has incurred damages in an amount to be determined at trial. |

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DEMAND
WHEREFORE, Plaintiff prays for judgment as follows:

A. Foran order from this Court declaring that Plaintiff holds all rights and
interests in the Photographs and is the owner of the stolen property.

B. For an injunction restraining and enjoining Defendants from offering
for sale, using, distributing, publishing, copying, reproducing, advertising,
promoting, adapting, displaying or otherwise exploiting the Photographs.

C. For an injunction mandating that Defendants deliver to Plaintiff any
and all copies of the Photographs.

D. For acomplete accounting and disgorgement of profits attributable to
Defendants’ exploitation of the Photographs.

E. — For damages according to proof, plus interest at the legal rate;

F. For an award of attorneys’ fees and costs; and

G. For such other and further relief as the Court deems just and proper.

DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury.

DATED: March 18, 2011 SIDEMAN & BANCROFT LLP
ROBERT R. CROSS
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Attorneys for Plaintiff NEWTON

 

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EXHIBIT A

 
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Auf die Beabachtungsliste

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The Celebrity Vault

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For Newsletter anmelden

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Helmut Newton Print featuring "Shoe" includes
COA

 

 

 

 

 

This is a Buy it now sale for a: Helmut Newton B&W print
of “Shoe” Monte Carlo 1983 This amazing print is
exculsively from his private collection. Helmut Newton was
mostly known for his spectacular fashion photography.

We are excited to announce our complete new line of some
of Helmut Newton’s amazing provocative and erotically
charged B&W photography. These prints are from his private
collection. These are all 11” X 17” prints. We are able to
offer these limited prints to you at slightly under retail

value. Every print comes with a COA and is shipped in a stiff
mailer

 

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; Fragen und Antworten zu diesem Artikel

Zu diasem Artikel wurden keine Fragen und Antworten eingestelit

 

 

Frage stellen

 

 

 

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EXHIBIT B

 

 
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Listed in category: Collectibles > Photographic Images > Contemporary (1940-Now) > Other Contemporary Images
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Item condition:  --

US $67.25
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PHOTO CENTRE

Helmut Newton Print featuring "Woman into Man" COA

US $32.75 USPS Priority Mail International | See all details
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SELLER CENTRAL

Seller info
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Other item info

Item number: 110651044861

Item location: Beverly Hills, CA,
United States

Post to: Worldwide

 

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Seller assumes all responsibility for this listing.
Last updated on 11:36:18 SGT, Feb 19, 2011 View all revisions

Item specifics

Listed By: Dealer or Reseller Date of Creation:

Photo Type: B&W Fashion Color:

Framing: Unframed Size Type/Largest Dimension:
The Celebrity Vault

1950-Now
Black & White |
11X17 |

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Case 2:11-cv-02350-ODW-VBK Document1 Filed 03/18/11 Page 18 of 39 Page ID #:21

Helmut Newton Print featuring "Woman into Man"
includes COA

 

 

 

 

 

This is a Buy it now sale for a: Helmut Newton B&W print of
“Woman into Man”, Paris 1979. This amazing print is
exculsively from his private collection. Helmut Newton was
mostly known for his spectacular fashion photography.

We are excited to announce our complete new line of some of
Helmut Newton’s amazing provocative and erotically charged
B&W photography. These prints are from his private collection.
These are all 11” X 17” prints. We are able to offer these
limited prints to you at slightly under retail value. Every print
comes with a COA and is shipped in a stiff mailer.

Please check our eBay store frequently for more upcoming
prints from Helmut Newton and other fine memorabilia. If you
are ever in the Beverly Hills area do not hesitate to stop by our
gallery to view many of our memorabilia and artifacts. Please

see our contact information at the bottom of this listing.

Thank you!

CELEBRITY vault

Proudly presents

HELMUT NEWTON PRIVATE PROPERTY

 

 
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Original Fine Art Lithographs

In 1984, Norman Soloman produced Helmut Newton’s limited edition portfolio titled Private
Property, which was introduced at gallery exhibitions in Paris and London. At the same time,
Mr. Soloman also published a limited edition series of Fine Art Lithographs featuring many
of Mr. Newton’s most iconic images from the Private Property collection. Twenty-five years
later, Celebrity Vault is excited to announce that we are exclusively re-introducing the same
lithographic series representing twenty of the most valuable images from the Private
Property collection.

The original 16”x20” signed limited edition silver gelatin prints from the Private Property
collection have skyrocketed in value, especially since Newton's passing in 2004, making the
images in this limited edition series of fine art reproductions from the original negatives a
particularly notable piece of photographic history.

The large 25”x38” Private Property original lithographs, each featuring an iconic image
that catapulted Newton into being one of the most well-known and coveted photographers
in the world, will soon be exclusively available for purchase at Celebrity Vault and Art &
Artifact!

HELMUT NEWTON

Helmut Newton was Born Helmut Neustidter on 31% October 1920 in Berlin, Germany he
was a prolific, widely imitated fashion photographer whose provocative and erotically
charged black-and-white photos were a mainstay of Vogue and other publications.

EARLY LIFE ~- Born in Berlin to a German-Jewish button-factory owner and an
American mother, Newton attended the Heinrich von Treitschke Real Gymnasium and the
American School in Berlin. Helmut became interested in photography from the age of
twelve when he purchased his first camera. He worked for the German photographer Yva
(Elsie Neulander Simon) from 1936. The increasingly oppressive restrictions placed on
Jews by the Nuremberg laws meant that his father lost control of the factory in which he
manufactured buttons and buckles when he was briefly interned in a concentration camp in
November 1938, which in turn compelled the family to leave Germany. Newton's parents
fled to Chile. Helmut was issued with a passport just after turning 18, and left Germany on
5" December 1938. At Trieste he boarded the 'Conte Rosso! (along with about two hundred
others escaping the Nazis) intending to journey to China. After arriving in Singapore he
decided to remain there as a reporter for the Straits Times and worked as a portrait
photographer.

 

LIFE IN AUSTRALIA — Helmut Newton was interned by British authorities while
in Singapore, and he was then sent to Australia on board the ‘Queen Mary' in September
1940 where he travelled by train under armed guard to the camp of Tatura in Victoria.
Helmut was released from internment in 1942 and then briefly worked as a fruit-picker in
northern Victoria. In April 1942, he enlisted with the Australian Army and worked as a
truck driver. After the war, in 1945 Helmut became an Australian citizen, and changed his
name to Newton in 1946. In 1948 he married actress June Browne, who performed under
the stage-name ‘June Brunell’. She later became a successful photographer under the ironic
pseudonym ‘Alice Springs' (after the central Australian town of the same name).

 

 
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In 1946, Newton set up a studio in fashionable Flinders Lane and worked on fashion and
theatre photography in the affluent post-war years. He shared his first joint exhibition in
May 1953 with Wolfgang Sievers, a German refugee like himself who had also served in
the same camp. The exhibition of "New Visions in Photography’ was held at the Federal
Hotel in Collins Street and was probably the first glimpse of ‘New Objectivity’
photography in Australia. Newton went into partnership with Henry Talbot, a fellow
German Jew who had also been interned at Tatura. His association with the studio
continued even after 1957 when-he left Australia for London. The studio was renamed
‘Helmut Newton and Henry Talbot’.

LONDON 1950S ~ Newton's growing reputation as a fashion photographer was
rewarded when he secured a commission to illustrate fashions in a special Australian
supplement for Vogue magazine which was published in January 1956. Helmut won a
twelve-month contract with British Vogue and he left for London in February 1957,
leaving Talbot to manage the business. He left the magazine before the end of his contract
and went to Paris where he worked for French and German magazines. He returned to
Melbourne in March 1959 to a contract for Australian Vogue.

 

PARIS 1960S — Helmut Newton settled in Paris in 1961 and continued work as a
fashion photographer. His works appeared in magazines including, most significantly,
French Vogue and Harpers Bazaar. He established a particular style marked by erotic and
stylised scenes, often with sado-masochistic and fetishistic subtexts. A heart attack in 1970
slowed his output somewhat, but he extended his work. His notoriety and his fame greatly
increased, notably with his 1980 "Big Nudes" series which marked the pinnacle of his
erotic-urban style, underpinned with excellent technical skills. He also worked in
portraiture and more fantastical studies.

Newton shot a number of pictorials for Playboy, working with models such as Nastassia
Kinski and Kristine DeBell.

 

 
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ESTABLISHMENT OF HELMUT NEWTON FOUNDATION Helmut
Newton was extremely fond of his hometown of Berlin, and in October 2003 he donated an
extensive photo collection to the Prussian Cultural Heritage Foundation, establishing the
Helmut Newton Foundation. The foundation's aim is the conservation, protection and
presentation of the oeuvre of Helmut Newton and Alice Springs.

Fees
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In his later life, Helmut Newton lived in Monte Carlo and in Los Angeles. Helmut was
killed on 23 January 2004 when his car hit a wall in the driveway of the Chateau
Marmont, the famous hotel on Sunset Boulevard which had for several years served as his
residence in Southern California. It has been speculated that Newton suffered a heart attack
in the moments before the collision. Helmut Newton’s ashes are buried next to Marlene
Dietrich in Berlin.

In 1984, Helmut Newton's only limited edition portfolio, titled Private Property, was first
introduced at gallery exhibitions in Paris and London. At the same time, the original
exhibition promoters also published a limited edition series of Fine Art Lithographs
featuring many of Mr. Newton's most iconic images from the Private Property collection.

Twenty-five years later, we are again able to re-introduce this exquisite collection
featuring many of the great images taken by one of the world's most renowned
photographers.

 

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e Items may be picked-up. Buyer must email or call us and make an appointment prior
to their pick-up. Items may be picked-up at our Gallery. Please see our address in the
"Contact Us" section.

 

 

We are sorry, due to the nature of these items we do not offer any refunds.

 
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Launched in March 2006, Celebrity Vault has grown into one of the most prominent galleries
in Los Angeles. Featured by numerous media outlets, such as People Magazine,
Entertainment Tonight, LA Times, and Billboard Magazine, it has become a destination for
tourists, locals, celebrities and royalty alike. Celebrity Vault represents a wide spectrum of
artists, from celebrity photography icons like Bert Stern and Douglas Kirkland to
contemporary artists, such as Cole Sternberg.

Celebrity Vault is open Sunday-Wednesday from 11am-6pm and Thursday-Saturday 11am-
9pm and by appointment.

 

Celebrity Vault
345 North Canon Drive
Beverly Hills, CA 90210-4704
Telephone number is: 310-858-7815

Get directions: Directions

Email us at: info@thecelebrityvault.com

 

 

 

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EXHIBIT C

 
Case 2:11-cv-02350-ODW-VBK Document1 Filed 03/18/11 Page 24 of 39 Page ID #:27

ART& ARTIFACT

THE PHOTOGRAPHIC AQT CENTER

 

HELMUT NEWTON

HELMUT NEWTON PRIVATE PROPERTY
Original Fine Art Lithographs
Now available for purcase at our online store

     

 

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REPRODUCTIONS

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DANIEL FURON

   

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HELMUT NEWTON

 

Woman Into Man Woman In Fur Coat Woman Examining Man

 

LIMITED EDITIONS

   

 

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David Hockney David Bowie Andy Warhol

 

 

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Case 2:11-cv-02350-ODW-VBK Document1 Filed 03/18/11 Page 26 of 39 Page ID #:29

After Dinner

 
Case 2:11-cv-02350-ODW-VBK Document1 Filed 03/18/11 Page 27 of 39 Page ID #:30

EXHIBIT D

 
Case 2:11-cv-02350-ODW-VBK Document1 Filed 03/18/11 Page 28 of 39 Page ID #:31

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Case 2:11-cv-02350-ODW-VBK Document1 Filed 03/18/11 Page 36 of 39 Page ID #:39

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Mariana P. Pfaelzer and the assigned
discovery Magistrate Judge is Victor B. Kenton.

The case number on all documents filed with the Court should read as follows:

CV11- 2350 MRP (VBKx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

The United States District Judge assigned to this case will review all filed discovery
motions and thereafter, on a case-by-case or motion-by-motion basis, may refer
discovery related motions to the Magistrate Judge for hearing and determination

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs). .

Subsequent documents must be filed at the following location:

[X] Western Division [_] Southern Division Eastern Division
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Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:11-cv-02350-ODW-VBK Document1 Filed 03/18/11 Page 37 of 39 Page ID #:40

Robert R. Cross (SBN #56814) \ L
Constance J. Yu (SBN #182704) vat fh

SIDEMAN & BANCROFT LLP
One Embarcadero Center, 8th Floor
San Francisco, CA 94111

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER
JUNE NEWTON
PLAINTIFF(S)

NORMAN SOLOMON, an individual, ART & CV Li-? 4 b () kisi)

ARTIFACT THE PHOTOGRAPHIC ART CENTER,

CELEBRITY INC., a Delaware corporation dba in

California as CELEBRITY VAULT, INC., SUMMONS
DEFENDANT(S).

 

 

TO:DEFENDANT(S):

A lawsuit has been filed against you.

must serve on the plaintiff an answer to the attached [X) complaint LC] amended complaint
[_] counterclaim ["] cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff's attorney, , whose address is . If you fail to do so,
judgment by default will be entered against you for the relief demanded ini the complaint. You also must file

your answer or motion with the court.

Within “A days after service of this summons “ you (not counting the day you received it), you

Clerk, U.S. District Court

Dated: 3~\G-\\ . By: | Brow t—

 

Deputy Clerk.

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States, Allowed
60 days by Rule 12(a)(3)].

 

 

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Seeeeeemereenent!

1(a) PLAINTIFFS (Check box if you are representing-yourself [.)
JUNE NEWTON

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

DEFENDANTS —

NORMAN SOLOMON, an individual, ART & ARTIFACT THE
PHOTOGRAPHIC ART CENTER, CELEBRITY INC., a Delaware
corporation dba in California as CELEBRITY VAULT, INC.,

CAPV

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(b) Attorneys (Firm Name, Address and Telephone Number, If you are representing | Attomeys (If Known)
yourself, provide same.)
Robert R, Cross (SBN #56814)
Constance J. Yu (SBN #182704)
SIDEMAN & BANCROFT LLP*
One Embarcadero Center, 8th Floor
San Francisco, CA '94111
IL. BASIS OF JURISDICTION (Place an X in one box only.) Nl. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
[]1 U.S. Government Plaintiff [7] 3 Federal Question (U.S. . PIF ‘DEF PTF DEF
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of Business in this State
[12US. Government Defendant [] 4 Diversity (Indicate Citizenship | Citizen of Another State (J2 (2 incorporated and Principal Place [15 15
of Parties in Item IID) of Business in Another State
Citizen or Subject of a Foreign Country BY 3 (13 Foreign Nation [16 Cle

 

 

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, District Judge from
Litigation Magistrate Judge _

Proceeding State Court Appellate Court Reopened

Y. REQUESTED IN COMPLAINT: JURY DEMAND: [_] Yes [7] No (Check ‘Yes! only if demanded in complaint.)

CLASS ACTION under F.R.C.P, 23: [XJ Yes [7] No

(] MONEY DEMANDED IN COMPLAINT: $

VI, CAUSE OF ACTION (Cite the U. S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

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Case 2:11- 99 RPOr WES DY RICE QCOUIEN CENTRAE BERET ORQOAAPORNIR Page ID #:42

CIVIL COVER SHEET

VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? [XJ No [] Yes
If yes, list case number(s):

 

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? EX] No [] Yes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check all boxes that apply) [[] A. Arise from the same or closely related transactions, happenings, or events; or
LJ B. Call for determination of the same or substantially related or similar questions of law and fact; or
J C. For other reasons would entail substantial duplication of labor if heard by different judges; or
L] D. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
[] Check here if the government, its agencies or employees is a named plaintiff, If this box is checked, go to item (b).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Principality of Monaco

 

 

 

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
[1 Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Los Angeles

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Los Angeles

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of land involved

X, SIGNATURE OF ATTORNEY wormropen, C1742 9] 7 7e—___—§— Date March 18, 2011
IF

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3 -1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))
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